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UNITED STATES DISTRICT COURT
DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

                          Plaintiff,
                                                                  No. 1:22-cv-00329-BLW
                                       v.

THE STATE OF IDAHO,

                          Defendant.



     BRIEF FOR THE STATES OF CALIFORNIA, NEW YORK, COLORADO,
    CONNECTICUT, DELAWARE, HAWAI‘I, ILLINOIS, MAINE, MARYLAND,
   MASSACHUSETTS, MICHIGAN, MINNESOTA, NEVADA, NEW JERSEY, NEW
   MEXICO, NORTH CAROLINA, OREGON, PENNSYLVANIA, RHODE ISLAND,
   WASHINGTON, AND WASHINGTON, D.C. AS AMICI CURIAE IN SUPPORT OF
         PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION
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                       INTRODUCTION AND INTERESTS OF AMICI

       Amici States of California, New York, Colorado, Connecticut, Delaware, Hawai‘i, Illinois,

Maine, Maryland, Massachusetts, Michigan, Minnesota, Nevada, New Jersey, New Mexico, North

Carolina, Oregon, Pennsylvania, Rhode Island, and Washington, and Washington, D.C. submit

this brief in support of the federal government’s request for a preliminary injunction against the

enforcement of defendant Idaho’s near total ban on abortion, to the extent the ban conflicts with

the Emergency Medical Treatment and Labor Act (EMTALA), 42 U.S.C. § 1395dd.

       Amici have a substantial interest in this case. As health care providers to millions of

residents, amici are both subject to EMTALA and serve as regulators of health care: amici own

and operate public hospital systems, employ individual health care personnel, and license and

regulate the many other health care providers that operate within our jurisdictions. Amici thus have

a strong interest in clear guidance regarding their obligations under EMTALA. Amici also have a

strong interest in protecting the rights of their residents who may need emergency medical care

while present as students, workers, or visitors in Idaho and other States that may attempt to prohibit

emergency abortion care contrary to EMTALA’s requirements. In addition, if patients in Idaho are

denied necessary emergency abortion care, they may travel to nearby States (including amici

Oregon and Washington) to receive the emergency care they need. These States would thus

experience additional pressures on their already overwhelmed hospital systems, especially in the

rural and underserved areas of Oregon and Washington that border on Idaho.

       EMTALA, enacted in 1986, has long been a crucial tool in ensuring that all individuals

who come to an emergency hospital department are afforded an appropriate medical screening to

determine whether they have an emergency medical condition and that patients are not transferred

or discharged until they receive medical treatment to stabilize any such condition. Amici submit
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this brief to highlight that EMTALA has long been interpreted to include emergency medical

conditions involving or affecting pregnancy for which necessary stabilizing treatment may include

abortion care. That straightforward interpretation of EMTALA derives from the statute’s text and

ensures that individuals with pregnancy-related emergency medical conditions receive the care

they need to prevent death or serious impairment.

        Amici’s experience as health care providers confirms that emergency abortion care is

necessary to avoid serious harmful outcomes (including death) in numerous situations such as

when a patient presents with an ectopic pregnancy, severe preeclampsia, complications from

abortion including self-induced abortion, and other medical conditions for which immediate

medical attention is needed. Amici States have long understood that abortion care is part of

emergency care and their experience establishes that the failure to provide stabilizing abortion care

when needed to address emergency medical conditions will cause serious patient harms and have

spillover effects in other States. These harms provide a strong basis for the injunctive relief sought

here.




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                                          ARGUMENT

       EMTALA HAS LONG BEEN INTERPRETED TO REQUIRE THE TREATMENT OF
       PREGNANCY-RELATED CONDITIONS THAT NEED EMERGENCY ABORTION CARE.

       EMTALA applies to any hospital that operates an emergency department and participates

in Medicare—criteria that are met by virtually every hospital in the United States. 1 Under

EMTALA, if “any individual” presents at a hospital’s emergency department for examination or

treatment, the hospital must provide an appropriate medical screening to determine whether an

emergency medical condition exists. 42 U.S.C. § 1395dd(a). If the screening indicates the patient

has an emergency medical condition, the hospital cannot transfer or discharge the patient until it

provides “treatment as may be required to stabilize the medical condition,” unless the transfer is

specifically authorized by the statute. Id. § 1395dd(b)-(c). The hospital may also admit the patient

as an inpatient in good faith to stabilize the emergency medical condition. 42 C.F.R.

§ 489.24(d)(2)(i). An “emergency medical condition” is “a medical condition manifesting itself by

acute symptoms of sufficient severity (including severe pain) such that the absence of immediate

medical attention could reasonably be expected to result in” (i) placing the health of the individual

in serious jeopardy, (ii) serious impairment to bodily functions, or (iii) serious dysfunction of any

bodily organ or part. 42 U.S.C. § 1395dd(e)(1)(A). Stabilizing the patient involves providing “such

medical treatment of the condition as may be necessary to assure, within reasonable medical

probability, that no material deterioration of the condition is likely to result from or occur during

the transfer of the individual.” Id. § 1395dd(e)(3)(A). Nothing in EMTALA excludes any

conditions or categories of medical care or treatment from the statute’s requirements.



       1
       See Joseph Zibulewsky, The Emergency Medical Treatment and Active Labor Act
(EMTALA): What It Is and What It Means for Physicians, 14 Baylor Univ. Med. Ctr. Proc. 339,
                                                                              (continued on the next page)


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       Individuals may present at the emergency department with various emergency medical

conditions relating to pregnancy that do not involve active labor (which is separately addressed in

the statute, see Id. § 1395dd(e)(1)(B)). 2 Such conditions may include ectopic pregnancy, traumatic

placental abruption (separation), hemorrhages, pre-labor rupture of membranes, placenta previa,

amniotic fluid embolism, intrauterine fetal death, and hypertension. 3 EMTALA’s obligations

would be triggered if the individual presenting with these conditions is experiencing acute

symptoms such that if immediate treatment is not provided, the medical condition would

reasonably be expected to result in serious jeopardy to the individual’s health, serious impairment

to bodily functions, or serious dysfunction of any bodily organ. See Id. § 1395dd(e)(1)(A). And in

such circumstances, EMTALA mandates that the individual cannot be transferred or discharged

until required stabilizing treatment is provided, unless the patient seeks transfer or discharge or,

under the circumstances, the medical benefits of transfer of the not yet stabilized individual

outweigh the risks. See id. § 1395dd(b)-(c). Required stabilizing treatment is that which “‘would

prevent the threatening and severe consequence of’ the patient’s emergency medical condition




340 (2001); Nathan S. Richards, Judicial Resolution of EMTALA Screening Claims at Summary
Judgment, 87 N.Y.U.L. Rev. 591, 601 & n.52 (2012).
       2
          The fact that EMTALA defines emergency medical condition to include a pregnant
patient in labor when there is inadequate time to effect a transfer before delivery or the transfer
otherwise poses a threat to the health of the patient or fetus, see 42 U.S.C. § 1395dd(e)(1)(B), does
not mean that Congress intended stabilizing treatment to exclude abortion care. EMTALA makes
clear that this part of the definition of emergency medical condition applies to situations where
delivery of the child is the desired health outcome and does not risk the life or health of the pregnant
person. See id. § 1395dd(e)(3)(A)-(B) (defining “to stabilize” and “stabilized” in reference to such
patients as delivery).
       3
        See Geoffrey Chamberlain & Philip Steer, ABC of Labour Care: Obstetric Emergencies,
318 BMJ 1342, 1342-45 (1999); Eric Nadel & Janet Talbot-Stern, Obstetric and Gynecologic
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while in transit.” Battle ex rel. Battle v. Memorial Hosp. at Gulfport, 228 F.3d 544, 559 (5th Cir.

2000) (quoting Burditt v. U.S. Dep’t of Health & Hum. Servs., 934 F.2d 1362, 1369 (5th Cir.

1991)).

          For decades, the federal government and courts throughout the country have interpreted

EMTALA to require treatment for emergency conditions relating to pregnancy that do not involve

active labor and have concluded that stabilizing treatment may include emergency abortion care

when necessary to treat an emergency condition. For example, in 2003, the Centers for Medicare

and Medicaid Services (CMS) clarified that a hospital’s labor and delivery department may qualify

as a regulated “emergency department.” 4 A decade ago, in 2011, the U.S. Department of Health

and Human Services (HHS) acknowledged that EMTALA may require abortion care in

appropriate circumstances in a rule implementing federal conscience-refusal laws that might

otherwise allow a physician to refuse to perform an abortion. 5 And in September 2021, CMS issued

guidance restating that emergency medical conditions include pregnancy-related conditions and

describing required stabilizing treatment as including abortion care when medically indicated. 6

CMS and HHS’s Office of Inspector General has also brought enforcement actions against

hospitals for EMTALA violations involving pregnancy-related emergency medical conditions. See

Burditt v. U.S. Dep’t of Health & Hum. Servs., 934 F.2d 1362, 1367-76 (5th Cir. 1991) (affirming




          4
          Clarifying Policies Related to the Responsibilities of Medicare-Participating Hospitals
in Treating Individuals With Emergency Medical Conditions, 68 Fed. Reg. 53,222, 53,228, 53,229
(Sept. 9, 2003) (discussing new regulatory definition of “dedicated emergency department”).
          5
         See Regulation for the Enforcement of Federal Health Care Provider Conscience
Protection Laws, 76 Fed. Reg. 9,968, 9,973 (Feb. 23, 2011).
          6
        See Memorandum from Dirs., Quality, Safety & Oversight Grp. & Survey & Operations
Grp., CMS, to State Survey Agency Dirs. (Sept. 17, 2021) (internet). (For sources available online,
full URLs appear in the Table of Authorities. All URLs were last visited on August 15, 2022.)

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enforcement action against hospital where pregnant individual presented with extreme

hypertension). 7

        Courts throughout the country have consistently found pregnancy-related emergency

conditions not involving active labor to fall within the scope of EMTALA. See, e.g., Morales v.

Sociedad Española de Auxilio Mutuo y Beneficencia, 524 F.3d 54, 55-62 (1st Cir. 2008) (ectopic

pregnancy); Morin v. Eastern Me. Med. Ctr., 779 F. Supp. 2d 166, 168-69, 185 (D. Me. 2011)

(woman 16 weeks pregnant having contractions without fetal heartbeat); see also McDougal v.

Lafourche Hosp. Serv. Dist. No. 3, No. 92-cv-2006, 1993 U.S. Dist. LEXIS 7381, at *1 (E.D. La.

May 24, 1993) (pregnant patient presented with vaginal bleeding). Indeed, a pregnant patient may

present at the hospital needing emergency care unrelated to, but affecting, the pregnancy.

Hammond v. St. Francis Med. Ctr., Inc., No. 3:06-cv-101, 2010 U.S. Dist. LEXIS 117734, at *2-

3, 7-8 (W.D. La. Nov. 4, 2010) (describing such facts and dismissing EMTALA claim for lack of

jurisdiction).

        Courts have also consistently interpreted EMTALA as requiring abortion services when

needed to stabilize an emergency medical condition. See Ritten v. Lapeer Reg’l Med. Ctr., 611 F.

Supp. 2d 696, 712-18 (E.D. Mich. 2009) (applying EMTALA’s anti-retaliation provision to doctor

who refused to transfer patient whose condition was not stable and who may have needed

abortion); see also New York v. United States Dep’t of Health & Hum. Servs., 414 F. Supp. 3d 475,


        7
         See also HHS & Dep’t of Just., Health Care Fraud and Abuse Control Program Annual
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(same, symptoms of vaginal bleeding, cramps, and decreased fetal movement); HHS, Off. of
Inspector Gen., Semi-Annual Report to Congress: October 1, 1999 – March 30, 2000, at 32-33
(2000) (internet) (same, symptom of sharp abdominal pain).

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538 (S.D.N.Y. 2019) (holding that federal rule that allowed physicians to refuse to perform or

assist with abortion was not in accordance with law as it would “create[], via regulation, a

conscience exception to EMTALA’s statutory mandate”), appeal filed, No. 20-41 (2d Cir. Jan. 3,

2020). Numerous courts have held that patients of physicians who perform abortions must be

admitted to the emergency room under EMTALA regardless of whether the treating physician has

admitting privileges at the hospital. See, e.g., Planned Parenthood of Wis., Inc. v. Van Hollen, 738

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Parenthood of Greater Tex. Surgical Health Servs. v. Abbott, 951 F. Supp. 2d 891, 899-900 (W.D.

Tex. 2013), rev’d on other grounds, 748 F.3d 583 (5th Cir. 2014). Under the reasoning of these

decisions, if a patient presented at the emergency room with an incomplete abortion, EMTALA

would require that the patient receive stabilizing emergency abortion care. See June Med. Servs.,

250 F. Supp. 3d at 62, 64.

       Finally, courts have long interpreted EMTALA as protecting patients from “being turned

away from emergency rooms for non-medical reasons.” Bryan v. Rectors & Visitors of the Univ.

of Va., 95 F.3d 349, 351 (4th Cir. 1996). Thus, “courts have declined to read exceptions into

EMTALA’s mandate,” including exceptions allowing transfers based on a physician’s religious,

moral, or ethical refusal to provide specified stabilizing treatment. New York, 414 F. Supp. 3d at

537 (collecting cases); see In re Baby “K”, 16 F.3d 590, 597 (4th Cir. 1994); Cleland v. Bronson

Health Care Grp., Inc., 917 F.2d 266, 272 (6th Cir. 1990) (observing that EMTALA’s plain text

prohibits a hospital from refusing treatment based on “political or cultural opposition”).

Consequently, liability for the failure to provide stabilizing treatment is not dependent on the



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physician’s or hospital’s motive. Roberts v. Galen of Va., Inc., 525 U.S. 249, 253 (1999); see

Burditt, 934 F.2d at 1373(same, failure to effect proper transfer).


       FOR YEARS, STATES HAVE UNDERSTOOD THAT ABORTION CARE IS PART OF
       EMERGENCY CARE.

      Hospitals in Amici States understand that providing abortion care to stabilize an emergency

medical condition is an essential part of their obligation to provide stabilizing care under

EMTALA. Hospitals in amici States regularly provide abortion care to stabilize many emergency

medical conditions, including severe pregnancy complications, complications of early pregnancy

loss or miscarriage, pre-labor rupture of membranes, ectopic pregnancy, emergent hypertensive

disorders such as preeclampsia with severe features, and incomplete abortion. Often, pregnant

patients face unforeseeable emergency medical conditions and need abortion care to protect their

life and prevent severe and disabling injury to their health, regardless of whether they wanted and

intended the pregnancy. As the American College of Obstetricians and Gynecologists has

explained, pregnancy complications “may be so severe that abortion is the only measure to

preserve a woman’s health or save her life.” 8Accordingly, abortion care has regularly been

provided by hospitals in amici States to stabilize emergency medical conditions. In New York in

2019, 3,000 abortions were performed for patients presenting at the emergency department, with

1,010 abortion procedures performed within the emergency department and 1,820 abortion

procedures performed for persons during an inpatient stay after presenting to the emergency

department. Illinois’s state Medicaid program reported that out of slightly more than 23,000

pregnancies, there were 532 emergency situations involving significant heart conditions, 477



       8
        Am. Coll. of Obstetricians & Gynecologists (ACOG), Facts Are Important: Abortion Is
Healthcare (2022) (internet).

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respiratory conditions (not including mild conditions), 35 kidney disorders, 33 ectopic pregnan-

cies, 221 missed abortions (miscarriages), 68 incomplete spontaneous abortions, 91 cases of

hemorrhaging, 40 cases of issues with the placenta, and 32 cases of sickle cell anemia. 9 Data from

the Nevada Medicaid program, which covers abortions only to protect the pregnant patient’s life

or in cases of rape or incest, indicates that the program has paid for an average of 523 covered

abortions per year from 2019 to 2021, totaling 1,540 abortions.

      Provider accounts likewise demonstrate that abortion is a regular and critical part of

emergency healthcare. A physician at Oregon’s public academic health center, Oregon Health &

Science University, described receiving transfers that require urgent or emergent pregnancy

termination, including pregnant patients presenting with hemorrhage due to placenta previa and

placental abruptions, peri-viable premature rupture of membranes with sepsis, peri-viable severe

decompensating preeclampsia, acute leukemia, c-section scar ectopic pregnancies, cornual ectopic

pregnancies, and hemorrhaging miscarriage, among other conditions. The Illinois Department of

Public Health’s Office of Women’s Health and Family Services reported that a provider treated a

30-year-old in the emergency room who was 15 weeks pregnant, had significant bleeding, ruptured

membranes, and a dilated cervix, but the fetus still had cardiac activity. The patient had lost one-

third of her blood volume, and her vital signs were deteriorating. The hospital provided the

necessary surgery to end the pregnancy. In another case, an Illinois provider treated a 32-year-old

patient with placenta previa (where the placenta covers the cervix) who was 20 weeks pregnant

and came to the hospital with vaginal bleeding and cervical dilation. Her bleeding increased rapidly

and she developed low blood pressure, needing a blood transfusion and a uterine evacuation (i.e.,


       9
         All of these conditions can necessitate abortion care as stabilizing treatment. See, e.g.,
Reuters, Fact Check – Termination of Pregnancy Can Be Necessary to Save a Woman’s Life,
Experts Say (Dec. 27, 2021) (internet).

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abortion) to stabilize her condition. Another Illinois patient who was 22 weeks pregnant was

brought to the hospital after having a seizure and was found to have elevated blood pressure,

preeclampsia, and HELLP (hemolysis, elevated liver enzymes, and low platelet count) syndrome,

a life-threatening pregnancy complication. Despite multiple medications to control her blood

pressure, her liver function was rapidly deteriorating, necessitating a surgical termination of the

pregnancy. Other patients received emergency abortion care to treat severe preeclampsia with very

elevated blood pressure that could not be controlled with medication and that presented the risk of

stroke, evidence of a growing internal hematoma in a patient with a history of second trimester

placental abruption, and previable preeclampsia with severe features that caused a seizure.

      Providers at a state-owned hospital in New Jersey similarly reported the regular use of

terminating a pregnancy in emergency settings to treat septic abortion (any type of miscarriage

where the uterus is infected or at risk of infection), ectopic pregnancies, preeclampsia with severe

features, and molar pregnancy (nonviable abnormally fertilized egg that can act like a malignancy

and is at high risk of metastasizing) for which no other treatment is available. And in Washington,

hospitals regularly provide abortion care to stabilize many emergency medical conditions. Indeed,

some hospitals that do not regularly provide abortion care in non-emergency settings explicitly

state that treatment of emergency conditions that would be required under EMTALA are

permitted. 10



        10
          See, e.g., Wash. State Dep’t of Health, Hospital Reproductive Health Services for Ferry
County Memorial Hospital, at pp. 1-2 (Aug. 29, 2019) (internet) (hospital does not provide
abortions in non-emergency settings, but “[t]reatment of miscarriages and ectopic pregnancy
would fall under the EMTALA protocols”); Wash. State Dep’t of Health, Hospital Reproductive
Health Services for Lourdes Hospital, at p. 1 (Sept. 3, 2019) (internet) (hospital does not provide
abortions in non-emergency settings, but “[o]perations, treatments, and medications that have as
their direct purpose the cure of a proportionately serious pathological condition of a pregnant
                                                                              (continued on the next page)


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       FAILURE TO PROVIDE EMERGENCY ABORTION CARE WHEN REQUIRED CAUSES
       SERIOUS HARMS TO PATIENTS AND LEADS TO SPILLOVER EFFECTS IN OTHER
       STATES.

       A court should enter a preliminary injunction when the other criteria for an injunction are

met and the equities and the public interest weigh in favor of such relief. “‘Courts of equity may,

and frequently do, go much farther both to give and withhold relief in furtherance of the public

interest than they are accustomed to go when only private interests are involved.’” Mercoid Corp.

v. Mid-Continent Inv. Co., 320 U.S. 661, 670 (1944) (quoting Virginia R. Co. v. Railway

Employees, 300 U.S. 515, 552 (1937)). Here, as Amici’s experience demonstrates, an injunction

against enforcement of Idaho’s law to the extent it conflicts with EMTALA will help safeguard

the health of patients in Idaho, avoid further pressuring the already overwhelmed capacity of

hospitals in neighboring States, and protect the public health. The equities and public interest thus

weigh in favor of such injunctive relief.


       Prohibiting Physicians from Providing Emergency Abortion Care
       Egregiously Harms Pregnant Patients.

       As the amici States’ experience demonstrates, preventing hospitals from performing

abortions needed to treat an emergency medical condition, as determined by a treating physician,

threatens the lives and health of pregnant patients. As explained above, many pregnancy and

miscarriage complications are emergency medical conditions requiring time-sensitive stabilizing




woman (patient) are permitted when they cannot be safely postponed until the unborn child is
viable, even if they will result in the death of the unborn child”); Wash. State Dep’t of Health,
Hospital Reproductive Health Services for Virginia Mason Memorial Hospital, at pp. 1-2 (Aug.
30, 2019) (internet) (provides surgical abortions to treat pregnancy complications or in pregnancies
involving a congenital abnormality).

                                                 11
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treatment that can include abortion. In an emergency, any failure to provide, or delays in providing,

necessary abortion care puts the pregnant patient’s life or health at risk. 11

       These situations can arise with a range of medical conditions. As one example, a physician

explained that a clear sign of uterine infection can be life threatening “because there is an extremely

high risk that the infection inside of the uterus spreads very quickly into [the patient’s] bloodstream

and she becomes septic. If she continues the pregnancy it comes at a very high risk of death.”12

Another observed that, “under certain conditions, continuing a pregnancy could significantly

increase the morbidity risk for the pregnant person or even jeopardize their life. . . . [F]or people

with certain cardiovascular disease conditions, like Eisenmenger’s syndrome and pulmonary

hypertension, carrying a pregnancy could cause as high as a 40% risk of maternal death.” 13 While

not all circumstances will necessarily require an abortion, abortion care is necessary to stabilize

the patient in at least some of these circumstances.

       Sadly, examples abound of patients suffering grave harm when they do not receive

necessary emergency care. For example, since Texas passed its six-week abortion ban (S.B. 8) and

the law took effect on September 1, 2021, pregnant people in Texas have been experiencing delays

in treatment and corresponding harms to their health. Doctors in Texas reported postponing care

“until a patient’s health or pregnancy complication has deteriorated to the point that their life was



       11
           See, e.g., Reuters, Fact Check – Termination of Pregnancy, supra (discussing, for exam-
ple, that placental abruption presents a risk of hemorrhage, which if left untreated, threatens the
pregnant person’s life and that preeclampsia if not treated quickly can result in the pregnant
person’s death); ACOG, Facts Are Important: Understanding Ectopic Pregnancy (2022) (internet)
(advising that “[a]n untreated ectopic pregnancy is life threatening; withholding or delaying
treatment can lead to death”).
       12
            Reuters, Fact Check – Termination of Pregnancy, supra.
       13
         Sarah Friedmann, What a Medical Emergency for an Abortion Actually Means,
According to OB/GYNs, Bustle (June 6, 2019) (internet).

                                                  12
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in danger, including multiple cases where patients were sent home, only to return once they were

in sepsis.” 14 As another example, a physician at an academic medical center described how a

hospital asked her to accept a patient “who was already septic” after the transferring hospital, on

conscience-refusal grounds, refused to perform the abortion needed to save the patient’s life,

instead transferring the patient in an unstable state because the fetus had cardiac activity. 15 The

physician who treated the patient after the transfer reported the transferring hospital for violating

EMTALA. 16

       Delaying life-saving emergency treatment is also gravely risky because physicians cannot

easily predict at which point during a medical emergency a pregnant patient’s death is imminent.17

Lisa Harris, a professor of reproductive health at the University of Michigan, discussed that “there

are many circumstances in which it is not clear whether a patient is close to death.” 18 She

explained, “It’s not like a switch that goes off or on that says, ‘OK, this person is bleeding a lot,

but not enough to kill them,’ and then all of a sudden, there is bleeding enough to kill them. . . .




       14
          Eleanor Klibanoff, Doctors Report Compromising Care out of Fear of Texas Abortion
Law, Texas Trib. (June 23, 2022) (internet); see also Whitney Arey et al., A Preview of the
Dangerous Future of Abortion Bans—Texas Senate Bill 8, 387 New England J. of Med. 388
(2022) (internet).
       15
         Lori R. Freedman, et al., When There’s a Heartbeat: Miscarriage Management in
Catholic-Owned Hospitals, 98 Am. J. Pub. Health 1774 (2008) (internet).
       16
            Id.
       17
           See Tina Reed, Defining “Life-Threatening” Can Be Tricky in Abortion Law Exceptions,
Axios (June 28, 2022) (internet). For example, Utah-based obstetrician Lori Gawron explained
that if a pregnant patient experiences a ruptured membrane in the second trimester, there is a much
greater risk of infection to the pregnant woman, and “[i]f the infection progresses to sepsis, the
maternal life is absolutely at risk. But we can’t say how long that will take or how severe the
infection will get in that individual.” Id.
       18
          Aria Bendix, How Life-Threatening Must a Pregnancy Be to End It Legally?, NBC News
(June 30, 2022) (internet).

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It’s a continuum, so even how someone knows where a person is in that process is really tricky.’”19

A recent study of maternal morbidity at two Texas hospitals following the enactment of the Texas

six-week ban found that when a pregnant patient presented at the hospital with specified pregnancy

complications, and an expectant-management approach was used (observation-only care until

serious infection develops or the fetus no longer has cardiac activity), the rate of serious maternal

morbidity (57%) is almost double the rate that occurs when the treating physician follows the

standard protocol of terminating the pregnancy to preserve the pregnant patient’s life or health

(33%). 20 In Illinois, a pregnant patient with an ectopic pregnancy died in 2018 after the hospital

failed to timely provide her with the necessary care. While this tragedy was related to the hospital’s

failure to properly staff the emergency department and provide the patient with the required care,

it illustrates the dangers to pregnant patients when hospitals do not meet their EMTALA obligation

to provide stabilizing care for an emergency medical condition. 21

       Since the Supreme Court’s decision in Dobbs v. Jackson Women’s Health Organization,

142 S. Ct. 2228 (2022), the mere uncertainty created by the flagrant disregard shown by states like

Idaho for EMTALA’s requirements has caused great confusion for doctors and created dangerous

situations for pregnant people. 22 Determinations of when an abortion is allowed under these States’



       19
          Id. Dr. Harris also impressed that the confusion about where the medical emergency
becomes life-threatening enough to warrant intervention under state law is a difficult point, stating
“What does the risk of death have to be, and how imminent must it be? Might abortion be
permissible in a patient with pulmonary hypertension, for whom we cite a 30-to-50% chance of
dying with ongoing pregnancy? Or must it be 100%?” Id.
       20
         Anjali Nambiar et al., Maternal Morbidity and Fetal Outcomes Among Pregnant Women
at 22 Weeks’ Gestation or Less with Complications in 2 Texas Hospitals After Legislation on
Abortion, Am. J. Obstetrics & Gynecology (forthcoming 2022) (internet).
       21
            Id.
       22
         See Frances Stead Sellers & Fenit Nirappil, Confusion Post-Roe Spurs Delays, Denials
for Some Lifesaving Pregnancy Care, Wash. Post (July 16, 2022) (internet).

                                                 14
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laws have “become fraught with uncertainty and legal risk,” forcing doctors to “significantly alter

the care they provide to women whose pregnancy complications put them at high risk of harm.”23

For instance, a woman sought care in Michigan after being denied treatment for an ectopic

pregnancy in her home State due to providers’ worries that providing abortion care might violate

state laws because the fetus still had cardiac activity. 24 In a hospital in Missouri, hospital

administrators temporarily required pharmacist approval to dispense medications needed to stop

post-partum hemorrhaging, leading to delays in access. 25 A pregnant patient in Wisconsin who

experienced a miscarriage was bleeding in the hospital for ten days before the hospital would

remove the fetal tissue because of confusion about the legality of doing so in that State. 26 These

uncertainties could be remedied by a judicial ruling confirming that EMTALA provides a

nationwide floor for emergency abortion care.


       Prohibiting Physicians from Providing Emergency Abortion Care
       Harms Other States.

       Allowing Idaho to ban abortion care, including in medical emergencies where it is required

under EMTALA, risks significant effects in other States as well. Amici’s experience demonstrates

that state abortion restrictions force many women to travel out of State for care. A comprehensive

study published earlier this year examined where women obtained abortion care in the United




       23
         J. David Goodman & Azeen Ghorayshi, Women Face Risks as Doctors Struggle With
Medical Exceptions on Abortion, N.Y. Times (July 20, 2022) (internet).
       24
         Sellers & Nirappil, supra; see id. (“many of the two dozen doctors interviewed by The
Post about their experiences since the Supreme Court overturned the right to abortion were hesitant
to describe details of individual cases for fear of running afoul of lawyers and hospital
administrators, violating patient privacy or prompting a criminal investigation”).
       25
            Id.
       26
            Id.

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States in 2017. Overall, 8% of all women who received an abortion had to cross state lines to obtain

care—but this number was vastly higher in States with significant restrictions on abortion. 27 In

2017, over 30% of all Idaho residents who received an abortion had to leave the State to do so,

approximately 550 women in total. 28 Over 40% of women from Kentucky, South Dakota, and

West Virginia had to cross state lines to receive care; and in Missouri, Mississippi, and South

Carolina, the figure was over 50%. 29 When more severe abortion restrictions in many jurisdictions

took effect after Dobbs, women from these and other states have crossed state lines in even greater

numbers, crowding waiting rooms and leading to longer waiting times for the procedure. 30 In

eastern Washington, clinics have already reported a massive influx of patients from Idaho: one

clinic reported that 78% of its patients in July 2022 were from Idaho (almost double the rate from

the prior year), and another clinic reported that it was already fully booked multiple weeks out due

to increased demand. Likewise in Oregon, one clinic reported that the number of out-of-state

patients seen in July and August was double the number seen during the prior 14 months.

       If hospitals in States like Idaho fail to comply with their obligations under EMTALA,

Amici States anticipate even further strain on their health systems. Emergency rooms in Oregon

and Washington will inevitably need to absorb the out-of-state patient need for care that Idaho’s




       27
          Mikaela H. Smith et al., Abortion Travel Within the United States: An Observational
Study of Cross-State Movement to Obtain Abortion Care in 2017, 10 The Lancet – Reg’l Health:
Americas art. 100214 (Mar. 3, 2022) (internet).
       28
            Id.
       29
            Id.
       30
           E.g., Angie Leventis Lourgos, Abortions in Illinois for Out of State Patients Have
Skyrocketed, Chi. Trib. (Aug. 4, 2022) (internet) (reporting a 700% increase in the number of out-
of-state patients served in Illinois); Matt Bloom & Bente Berkland, Wait Times at Colorado Clinics
Hit Two Weeks as Out-of-State Patients Strain System, KSUT (July 28, 2022) (internet) (100%
increase in wait times from before Dobbs was decided).

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law will cause, at a time when the States continue to wrestle with an ongoing global pandemic and

new public health crises. Emergency departments are already faced with overcrowding, long wait

times, and staff shortages, especially in rural and underserved areas such as those parts of Oregon

and Washington that share a border with Idaho. 31 An additional influx of patients needing urgent

care to address an emergency medical condition will only add to these concerns. If hospitals in a

particular state fail to meet their obligations under EMTALA, it will cause harm to other states and

the patients whom EMTALA is designed to protect.




       31
          See generally Stephen Bohan, Americans Deserve Better Than ‘Destination Hallway’ in
Emergency Departments and Hospital Wards, STAT News (Aug. 1, 2022) (internet) (discussing
increasing demands for in-patient and emergency hospital services).

                                                17
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                                             CONCLUSION

                     Plaintiff’s motion for a preliminary injunction should be granted.

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              August 15, 2022

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